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 1   JOHN E. VIRGA (Bar No. 39451)
     JOHN E. VIRGA, INC.
 2   A Professional Corporation
     721 Eleventh Street
 3   Sacramento, CA 95814
     Telephone:    (916) 444-6595
 4   Facsimile:    (916) 444-3318
 5   Attorneys for Defendant
     NAVPREET SINGH
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 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                        CASE NO. 2:10-CR-00347-MCE
11
                    Plaintiff,                        STIPULATION AND ORDER
12                                                    RESCHEDULING JUDGMENT AND
            v.                                        SENTENCING HEARING
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     NAVPREET SINGH,
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                    Defendant.
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            IT IS HEREBY STIPULATED by and between Assistant United States Attorney Jill M.
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     Thomas, counsel for the plaintiff United States of America, and John E. Virga, counsel for
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     Defendant Navpreet Singh, that the Judgment and Sentencing Hearing scheduled for April 17,
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     2014, be vacated and moved up to March 14, 2014, at 9:00 a.m.
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            On January 6, 2014, the parties continued the Judgment and Sentencing hearing to April
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     17, 2014. On February 19, 2014, the government agreed to recommend a 25-month sentence for
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     defendant Navpreet Singh. Counsel believes that a 25-month sentence would result in Defendant
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     being “time served” prior to the currently scheduled hearing. Because of this, the parties agree
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     that the Judgment and Sentencing Hearing should be moved up to March 14, 2014.
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            The parties agree that time should be excluded under 18 U.S.C. § 3161 (h)(7)(B)(4) for
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     defense preparation and under Local Code T4 and that the ends of justice would be served by
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     rescheduling outweigh the best interest of the public and defendant to a speedy trial.
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            Jill M. Thomas agrees to this request and has authorized John E. Virga to sign this
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     stipulation on his behalf.
 3
     DATED: February 28, 2014
 4
 5                                             By: /s/ John E. Virga
                                                                 JOHN E. VIRGA
 6                                                            Attorney for Defendant
 7
 8   DATED: February 28, 2014
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                                               By: /s/ John E. Virga for Jill M. Thomas
10                                                              JILL M. THOMAS
                                                          Assistant United States Attorney
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 1
                                                 ORDER
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            Based upon the representations by counsel and the stipulation of the parties, IT IS
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     HEREBY ORDERED that the hearing date of April 17, 2014, at 9:00 a.m. is vacated, and moved
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     to March 14, 2014, at 9:00 a.m. The Court further finds that the ends of justice outweigh the best
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     interest of the public and the defendant in a speedy trial. Accordingly, time under the Speedy
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     Trial Act shall be excluded through March 14, 2014.
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     Dated: March 7, 2014
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